 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480] 269-7077
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 4   Email: kyle@kinneylaw.net
 5   Attorney for Debtors;
 6   RONALD AND ARLENE SILVER

 7                      IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                            Chapter 11
10
     RONALD AND ARLENE SILVER, husband                 Case No. 2:17-bk-07624-SHG
11   and wife,
12                                                     NOTICE OF LODGING PROPOSED
                                  Debtors.               ORDER RE SALE OF REAL
13                                                              PROPERTY
14                                                              (Property Address:
                                                         7009 East Acoma Drive Unit 1052,
15
                                                             Scottsdale, Arizona 85254
16
17
18             NOTICE IS HEREBY GIVEN pursuant to Rule 9022-1(b), Arizona Local Rules of
19   Bankruptcy Procedures, that Debtors, Arlene Silver and Ronald J. Silver, have lodged with
20   the Court a Stipulation and Proposed Order approving the sale of the real property located
21   at 7009 East Acoma Drive Unit 1052, Scottsdale, Arizona 85254, in the form attached
22   hereto.
23
               Dated August 7, 2018.
24                                               LAW OFFICES OF KYLE A. KINNEY,
                                                 PLLC
25
26                                               By:      /s/ Kyle A. Kinney
                                                       Kyle A. Kinney, Esq. (Bar No. 027189)
27                                                     1717 N. 77th Street, Suite 6
                                                       Scottsdale, AZ 85257
28                                                     Attorney for Debtors
     This is to certify that the foregoing was
 1
     e-filed on August 7, 2018, in the
 2   United States Bankruptcy Court,
     And a COPY of the foregoing served via
 3   electronic Notification that same date on:
 4   RENEE SANDLER SHAMBLIN
     Office of the U. S. Trustee                        Joseph J. Tirello, Jr., Esq.
 5   230 North First Avenue, Suite 204                  ZIEVE, BRODNAX & STEELE, LLP
     Phoenix, AZ 85003-1706                             3550 North Central Avenue, Suite 625
 6                                                      Phoenix, AZ 85012
     Kim Lepore                                         E-mail: Jtirello@zbslaw.com
 7   klepore@wrightlegal.net                            Attorneys for U.S. Bank National
     Jamin S. Neil                                      Association, as Trustee for Lehman
 8   jneil@wrightlegal.net                              Brothers Small Balance
     WRIGHT, FINLAY & ZAK, LLP                          Commercial Mortgage Pass-Through
 9   16427 N. Scottsdale Road, Suite 300                Certificates,Series 2007-3
     Scottsdale, Arizona 85254
10   Attorneys for Nissan                               James E. Shively
                                                        BALL, SANTIN & McLERAN, PLC
11   ALDRIDGE PITE, LLP                                 2999 N. 44th Street, Suite 500
     ecfazb@aldridgepite.com                            Phoenix, AZ 85018
12   4375 Jutland Drive, Suite 200                      Attorney for Lienholder
     P.O. Box 17933                                     Nationstar Mortgage, LLC, as servicer for
13   San Diego, CA 92177-0933                            Lehman XS Trust Mortgage Pass-
     Attorneys for Ocwen Loan Servicing                 Through Certificates, Series 2007-15 N,
14                                                      U.S. Bank National Association, as
     Lori L. Winkelman                                  Trustee
15   Amelia B. Valenzuela
     Quarles & Brady LLP                                SANFORD J. GERMAINE
16   Renaissance One                                    sgermaine@germaine-law.com
     Two North Central Avenue                           4040 E Camelback Rd Ste. 110
17   Phoenix, Arizona 85004-2391                        Phoenix, AZ 85018
     lori.winkelman@quarles.com                         Attorney for Creditor Lee & Associates
18   amelia.valenzuela@quarles.com
     Attorneys for Capital One, NA as servicer
19
     For Greenpoint Mortgage Funding, Inc
20
21   By: /s/       Paula D. Hillock
22
23
24
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28
 1   Kyle A. Kinney, Esq. [Bar No. 027189]
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 5
     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                             Chapter 11
10
     Arlene Silver and                                  Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,
                                                        ORDER GRANTING MOTION TO
12                               Debtors.               APPROVE SALE OF REAL
                                                        PROPERTY
13
14            The Court having received Debtors in Possession, Arlene Silver and Ronald J.
15   Silver, Motion to Approve Sale of Real Property located at 7009 East Acoma Drive Unit
16   1052, Scottsdale, Arizona 85254 (“Property”) pursuant to 11 U.S.C. § 363(b), FRBP 2002
17   &6004 and Local Rule 6004-1 (“Motion”), and with one limited objection having been filed
18   by lien holder Wells Fargo Bank, N.A. as certificate trustee for Gonzalo Residential Asset
19   Trust (“Lienholder”), through its loan servicer Ocwen Loan Servicing, LLC, within the 21
20   day period and with proper notice and service haven been made pursuant to Rule 2002 of
21   Federal Rules of Bankruptcy Procedure, and Local Rule 9013-1(k)(1); and with such
22   limited objection having been resolved by way of stipulation of the parties;
23            IT IS HEREBY ORDERED authorizing Debtors to sell the Property pursuant to the
24   terms as set-forth in the proposed purchase contract attached to the Motion;
25            IT IS FURTHER ORDERED that Lienholder shall be paid in full at the close of
26   escrow subject to a payoff quote obtained at the time of closing;
27            IT IS FURTHER ORDERED that Debtors shall contact Lienholder and/or its
28   counsel of record prior to the closing of the sale to obtain an updated payoff quote for the
 1   Subject Loan. Lienholder may require such updated payoff demand prior to the close of
 2   escrow to ensure Lienholder’s claim is paid in full;
 3              IT IS FURTHER ORDERED that Lienholder’s claim shall not be surcharged in any
 4   way with the costs of the sale, broker commissions, attorneys’ fees or any other
 5   administrative claims, costs or expenses in connection with the sale of the Property;
 6              IT IS FURTHER ORDERED that if the sale of the Property is not completed or
 7   funds are not received by Lienholder to satisfy the subject loan in full after closing,
 8   Lienholder shall retain its lien for the full amount due under the subject promissory note;
 9              IT IS FURTHER ORDERED that to the extent Debtors dispute any amounts which
10   Lienholder claims are owed on the subject loan, that the undisputed amount of the
11   Lienholder’s claim will be paid at the close of the sale and for the disputed amount of
12   Lienholder’s claim to be segregated in an interest bearing account with an additional
13   $10,000 in sale proceeds pending further Order of this Court to allow for Lienholder and/or
14   Debtors’ potential recovery of any of its reasonable attorney’s fees and costs incurred in
15   successfully prevailing upon such dispute;
16              IT IS FURTHER ORDERED that if Debtors fail to close escrow and payoff the
17   subject loan in accordance with this Order within ninety (90) calendar days of entry of this
18   Order, Debtors shall file and notice a motion with this Court requesting an extension to
19   complete the sale;
20              IT IS FURTHER ORDERED that in the event Debtors complete the sale of the
21   Property prior to confirmation of the Chapter 11 Plan, the Plan and/or Confirmation Order
22   shall be amended to reflect the sale of the Property and payment of Creditor’s secured claim
23   in full;
24   ///
25   ///
26   ///
27   ///
28   ///

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 1         IT IS FURTHER ORDERED that, except for liens, costs and commissions to be paid
 2   through escrow as stated in the purchase contract and above, that Debtors shall retain all
 3   proceeds received from the sale and shall not make any disbursements unless expressly
 4   authorized by this Court or within the ordinary course of business.
 5
 6                                            SIGNED AND DATED ABOVE

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